  Case 6:10-cv-00059-LED Document 7 Filed 09/10/10 Page 1 of 2 PageID #: 29




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                 :
Brandy Samuel,                                   :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 6:10-cv-59
       v.                                        :
                                                 :
ER Solutions, Inc.; and DOES 1-10, inclusive,    :
                                                 :
                                                 :
                      Defendant.                 :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: September 10, 2010
                                                     Respectfully submitted,
                                                     By: __/s/ Diana P. Larson_________
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                                                     ATTORNEYS FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2010, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court Eastern District of
Texas Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                           By __/s/ Diana P. Larson_________

                                                  Diana P. Larson
